10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

Case 2:08-cr-00970-ODW Document1 Filed 08/15/08 Page1of2 Page ID#:1

Zo: Hd SI iV gue

 

UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA

no. cros- @8-9097N

INFORMATION

UNITED STATES OF AMERICA,

ee ee

Plaintiff,
Vv. [18 U.S.C. § 924(a) (1) (A):
False Statements Regarding
Federal Firearms Licensee
Records]

ELIZABETH ANN VIRGILIO,

Defendant.

ee et ee ee ee ee ee

 

The United States Attorney charges:

[18 U.S.C. § 924 (a) (1) (A)]

On or about January 24, 2007, in Los Angeles County, within
the Central District of California, defendant ELIZABETH ANN
VIRGILIO (“VIRGILIO”) knowingly made a false statement and
representation with respect to information required by the
provisions of Chapter 44 of Title 18, United States Code, to be
kept in the records of Rabensar Inc., dba Boulevard Sales and
Service, located at 1316 Long Beach Boulevard, Compton,
California, a federal firearms licensee under the provisions of
Chapter 44 of Title 18, United States Code, in that defendant did

execute and maintain in the records of Rabensar, Inc., dba

AEB

 

 

qa
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

Case 2:08-cr-00970-ODW Document1 Filed 08/15/08 Page 2 o0f2 Page ID #:2

Boulevard Sales and Service, a Bureau of Alcohol, Tobacco,
Firearms and Explosives Form 4473 Firearms Transaction Record
that claimed that VIRGILIO was the actual transferor of the
firearm listed on the Form 4473 Firearms Transaction Record, to
wit, a Hi-Point model CF380 .380 caliber pistol, bearing serial
number P913596, whereas, in truth and in fact, VIRGILIO was not

the actual transferor of the firearm.

THOMAS P. O'BRIEN
United States Attorney

Doidd le

DANTEL GOODMAN
Assistant United States Attorney
Acting Chief, Criminal Division

    

ROBERT E. DUGDALE
Assistant United States Attorney
Chief, Violent & Organized Crime Section

ELIZABETH R. YANG

Assistant United States Attorney
Deputy Chief, Violent & Organized Crime
Section

SHAWN J. NELSON
Special Assistant United States Attorney
Violent & Organized Crime Section

 
